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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE
                                 )
In re                                                         Chapter 11
                                 )
ENERGY FUTURE HOLDINGS CORP., et )                            Bankruptcy Case No. 14-10979 (CSS)
al.,1                                                         (Jointly Administered)
                                 )
               Debtors.          )
                                                              Re: D.I. 6742
                                 )

    DEBTORS’ MEMORANDUM IN SUPPORT OF ITS MOTION IN LIMINE TO LIMIT
         THE EXPERT REPORT AND TESTIMONY OF MICHAEL HENKIN


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    The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
    debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
    chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
    digits of their federal tax identification numbers is not provided herein. A complete list of such information may
    be obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.
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                                    PRELIMINARY STATEMENT2

          1.       The EFH Committee has retained Michael Henkin to support their opposition to the

Plan and the proposed Settlement Agreement. If permitted to testify, Henkin would function as little

more than a highly-paid lay witness, offering opinions that stretch far beyond his areas of expertise,

require no special expertise, or add no value to the contested issues before the Court.

          2.       None of Henkin’s opinions will help the Court evaluate the EFH Committee’s

objections, including whether the Plan is feasible. Henkin has not performed any quantitative or

qualitative assessment of whether the Debtors and purchasers will meet the closing conditions or

whether the merger transaction will close. Henkin has not calculated the likelihood of the Debtors

achieving the necessary regulatory approvals and tax rulings by, for example, comparing them to

similar applications in the industry, and he has done nothing to evaluate the reasonableness of the

Debtors’ approach to meet the milestones in the Merger Agreement. Nor does Henkin offer any

opinion that the Board of Directors failed to exercise its business judgment in approving the Plan and

associated Merger Agreement.

          3.       Four of Henkin’s opinions best exemplify these shortcomings and should be

excluded:

          4.       First, Henkin opines that there is “no reasonable assurance” that the Merger

Agreement will close. The basis for his opinion consists of nothing more than a compilation of

undisputed closing conditions in the Merger Agreement and Plan Support Agreement, and Henkin’s

subjective belief that those conditions are “significant.” Henkin performs no analysis and can offer

no opinion on the likelihood that any of the “significant” conditions will or will not be satisfied. To

the contrary, Henkin acknowledged that his only contribution is “just compiling them and

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    Capitalized terms used, but not otherwise defined in this Preliminary Statement, shall be ascribed the same
    meanings given to them elsewhere in this Memorandum.



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highlighting them to the court.” Henkin’s service as a “human highlighter” requires no expertise, and

would do nothing to assist the Court in understanding the facts.

       5.      Second, Henkin opines that EFH’s net operating losses (“NOLs”) are sufficient to

offset any taxes due upon a taxable disposition of Texas Competitive Electric Holdings Company

LLC (“TCEH”), thus reducing the benefit of a tax-free spinoff of TCEH. But Henkin’s opinion is

premised upon the implied value of TCEH, which he calculated through a “simplistic” approach

based on trading values of certain TCEH debt issuances as of October 8, 2015. As Henkin candidly

concedes, that is the wrong date. For purposes of assessing the relative benefit of a tax-free spin,

what matters is the value of TCEH as of the date of emergence, not the value nearly a month ago.

Henkin’s valuation of TCEH is therefore both unreliable and irrelevant.

       6.      Third, Henkin opines that the purchasers’ rights under the Merger Agreement are

akin to an “option” because it provides “the Purchasers have the exclusive right, but not the

obligation, to invest and complete the transaction.” Yet, as Henkin has conceded, the fiduciary out

provision in the Merger Agreement renders the purchasers’ right non-exclusive: they must compete

with any superior offer submitted to the Debtors. So the Merger Agreement does not fit Henkin’s

own definition of “option.” Henkin’s opinion is nothing more than an incorrect characterization of

contractual terms that the Court can read and assess on its own.

       7.      Fourth, Henkin opines that the lack of traditional remedies in the Merger Agreement

is atypical compared to other large M&A deals. The lack of traditional remedies is not a contested

issue in the case, and Henkin’s opinion is therefore irrelevant. The question for the Court is whether

the Plan is feasible. Henkin, who disregards the Plan’s unique disarmament and drag approach

because it does not fall neatly into his categorization of traditional remedies, cannot answer that




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question because he has not performed any expert analysis on the probability that the transaction will

close.

         8.     For all the reasons summarized above and described in more detail below, the Court

should exclude the report and anticipated testimony of Henkin on these four opinions.

                                         BACKGROUND

         9.     The official committee of unsecured creditors (the “EFH Committee”) of Energy

Future Holdings Corp. (“EFH”), Energy Future Intermediate Holding Company LLC, EFIH Finance

Inc., and EECI, Inc. have objected to (a) the motion EFH and its affiliated debtors and debtors in

possession (collectively, the “Debtors”) for an order approving the amended and restated settlement

agreement (“Settlement Agreement”), dated as of September 10, 2015, and (b) confirmation of the

Fifth Amended Joint Plan of Reorganization of Energy Future Holdings Corp., et al., Pursuant to

Chapter 11 of the Bankruptcy Code [D.I. 6122] (the “Plan”). The EFH Committee’s Trial Brief and

Omnibus Objection was filed on October 23, 2015 [D.I. 6627] (the “EFH Committee Objection”).

         10.    On October 12, 2015, the EFH Committee produced to the Debtors the expert

report of Michael Henkin. The Debtors and others deposed Henkin on October 21, 2015. The

EFH Committee has relied on Henkin’s expert opinions to support the EFH Committee

Objection.

         11.    Henkin is a Senior Managing Director and Co-Head of the Restructuring Advisory

Group at Guggenheim Securities, LLC. (Expert Report of Michael Henkin, dated October 12, 2015

(“Henkin Rep.”) (Ex. A) ¶ 1.) Henkin holds himself out as an expert in general investment banking

and specifically in financings and sale processes. (Excerpts of Transcript of the Deposition of

Michael Henkin (“Henkin Tr.”) (Ex. B) at 90:15-20.)




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       12.     The Debtors move to exclude four of Henkin’s expert opinions as inadmissible:

               1) “There are no reasonable assurances that the Merger will close.” (Henkin
                  Rep. ¶ 14; see also Henkin Tr. at 85:24 - 86:5.)

               2) “Based on the implied market value of TCEH [as of October 8, 2015], there
                  will be no tax liability to EFH upon a disposition of TCEH in a transaction
                  utilizing EFH’s NOLs.” (Henkin Rep. ¶ 16; Henkin Tr. at 256:14-16.)

               3) “The agreement by the Purchasers to buy Oncor as a REIT is akin to an
                  option.” (Henkin Rep. ¶ 12.)

               4) “The lack of remedies in the Merger and Purchase Agreement is inconsistent with
                  both large utility M&A transactions and large bankruptcy sale transactions.” (Id.
                  ¶ 11.)

       13.     As described fully below, each of these four opinions suffers from fundamental flaws

rendering them inadmissible.

                                      LEGAL STANDARD

       14.     The test for admissibility of expert testimony under Rule 702 is an “exacting” one.

Weisgram v. Marley Co., 528 U.S. 440, 455 (2000). The Supreme Court has made clear that under

Rule 702, courts must serve as “gatekeep[ers]” to “ensur[e] that an expert’s testimony both rests on a

reliable foundation and is relevant to the task at hand” before admitting or considering the testimony

for any purpose. Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 589, 597 (1993); see also

Kumho Tire Co. v. Carmichael, 526 U.S. 137, 148-51 (1999). The proponent of the expert testimony

bears the burden of showing by a preponderance of the evidence that proffered expert testimony is

both relevant and reliable. Oddi v. Ford Motor Co., 234 F.3d 136, 145-46 (3d Cir. 2000); In re W.R.

Grace & Co., 355 B.R. 462, 471-72 (Bankr. D. Del. 2006). Further, the Court’s role as “gatekeeper”

is no less important in a bench trial setting. See Cantor v. Perelman, No. CIVA 97-586 KAJ, 2006

WL 3462596, at *3 (D. Del. Nov. 30, 2006) (granting motion to exclude in bench trial).

       15.     “Rule 702 has three major requirements: (1) the proffered witness must be an

expert, i.e., must be qualified; (2) the expert must testify about matters requiring scientific,


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technical or specialized knowledge; and (3) the expert’s testimony must assist the trier of fact.”

Pineda v. Ford Motor Co., 520 F.3d 237, 244 (3d Cir. 2008). The Third Circuit has provided

additional instruction on the Court’s gatekeeping function, requiring it to enforce “a trilogy of

restrictions on expert testimony: qualification, reliability and fit.” Schneider v. Fried, 320 F.3d 396,

404 (3d Cir. 2003).

       16.     To be reliable, an expert’s opinion must have “good grounds” and cannot be based on

“subjective belief or unsupported speculation.” Daubert, 509 U.S. at 590; see also In re TMI Litig.,

193 F.3d 613, 670 (3d Cir. 1999). “An expert’s opinion should be excluded when it is based on

assumptions which are speculative and not supported by the record.” ZF Meritor, LLC v. Eaton

Corp., 696 F.3d 254, 294 (3d Cir. 2012) (quotations and citation omitted). Moreover, the expert’s

opinions must be “the product of reliable principles and methods” that are “reliably” applied “to the

facts of the case.” Fed. R. Evid. 702 & Advisory Committee Note (2000); Daubert, 509 U.S. at 590;

Oddi, 234 F.3d at 156.

       17.     Rule 702 requires that the expert testimony “fit the issues in the case.” Schneider,

320 F.3d at 404. In other words, the expert’s testimony “must be relevant for the purposes of the

case and must assist the trier of fact.” Id.            The “fit” requirement “goes primarily to

relevance,” Daubert, 509 U.S. at 591, and this district has held that “testimony on factual matters

involving common sense” does not assist the trier of fact, Crawford v. George & Lynch, Inc., No. CV

10-949-GMS-SRF, 2013 WL 6504361, at *2 (D. Del. Dec. 9, 2013). Additionally, under Daubert,

“helpfulness” requires that expert testimony “not be used merely to repeat or summarize” what

the Court “independently has the ability to understand.” Reedy v. CSX Transp., Inc., No. CIV.A.

06-758, 2007 WL 1469047, at *3 (W.D. Pa. May 18, 2007) (internal quotation marks and

citation omitted).




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        18.     At bottom, an expert’s testimony must be more than subjective belief or

unsupported speculation. See In re TMI Litig., 193 F.3d at 670; Calhoun v. Yamaha Motor

Corp., 350 F.3d 316, 323 (3d Cir. 2003) (upholding limitation of testimony as the expert “offered

no support for his beliefs”); see also Ammons v. Aramark Uniform Servs., Inc., 368 F.3d 809,

816 (7th Cir. 2004) (upholding exclusion of expert opinion that “was nothing more than

speculation”). And the Supreme Court has reasoned that “nothing in either Daubert or the

Federal Rules of Evidence requires a district court to admit opinion evidence that is connected to

existing data only by the ipse dixit of the expert.” General Elec. Co. v. Joiner, 522 U.S. 136, 146

(1997); Oddi, 234 F.3d at 158 (“Noettl’s ipse dixit does not withstand Daubert’s scrutiny.”).


                                            ARGUMENT

I.      Henkin’s “Reasonable Assurance” Opinion Should Be Excluded As An Inadmissible
        And Unhelpful Attempt To Summarize The Factual Record.

        19.     Henkin’s opinion that “[t]here are no reasonable assurances that the Merger will

close” should be excluded because Henkin’s methodology consists of nothing more than highlighting

contract terms that the Court can read on its own. (Henkin Rep. ¶ 14.) Henkin does not provide any

analysis or evaluation of the likelihood that any condition to closing will occur, let alone any reliable

analysis. See S.E.C. v. Lipson, 46 F. Supp. 2d 758, 763 (N.D. Ill. 1998) (“Expert testimony may not

be used merely to repeat or summarize what the jury independently has the ability to understand.”).

        20.     There is no definition of “reasonable assurance” in Henkin’s expert report.

(Henkin Tr. at 232:25 - 234:5.) Asked for a definition at his deposition, Henkin testified that

reasonable assurance means “a reasonable likelihood that the merger will close.” (Id. at 225:17-

21.) He also testified that this is a test based on what Henkin “think[s] the buyer is going to do.”

(Id. at 225:22 - 226:9.) Henkin was not aware of any industry treatise or peer-reviewed approach




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to evaluating whether there is a “reasonable assurance” that a merger will close. (Id. at 232:6-8,

234:3-7.)

           21.     Nevertheless, Henkin opined that the Merger Agreement is not reasonably likely

to close due to the “conditionality inherent in the merger and purchase agreement,” which he

describes as “significant.” (Id. at 224:21-22, 254:22 - 255:2.) The Debtors have never denied

that the Merger Agreement is subject to certain conditions. To the contrary, as Henkin admits,

all of the conditions that he identified are plain terms of the Merger Agreement or Plan Support

Agreement. All Henkin does is “highlight” these contractual conditions for the Court:

           Q. So, to be fair, all the conditions that you’re identifying, right, are terms in the
           agreement, right?
           A.    Yes.
           Q.    They’re evidenced clearly in the agreement?
           A. Yes, some of them are in the merger and purchase agreement, some of them
           are in the PSA, but they’re in the combination of agreements that form the basis
           of the purchase of Oncor.
           Q.      Right. So all of the conditions that you identify that comprise the
           conditionality on which you are rendering your opinion are plainly stated in the
           merger agreement or the plan support agreement, right?
           A.    I think that’s right, yes.
           Q.    And you’re just compiling them and highlighting them to the court?
           A.    Yes, that there is significant number of conditions and the deal is highly
           conditional. I think I quote the debtors in some of the report as well that the
           debtors say it’s highly conditional, too.

(Id. at 257:2-25 (emphasis added).)3

           22.     Because of regulatory requirements for the Debtors’ businesses, there would be

conditionality to any deal involving Oncor. Henkin’s opinion that such regulatory requirements

and other conditions exist does not require any expertise. See Pineda, 520 F.3d at 244 (“[T]he


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    Henkin’s attempt to sweep in the Debtors’ board presentations on the conditionality point does nothing to salvage
    his opinion. Henkin admits that the board presentations were only used as “reinforcement of my observation” that
    “there is a lot of conditionality in the deal.” (Id. at 258:12-19.)



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expert must testify about matters requiring scientific, technical or specialized knowledge.”). The

Court does not need Henkin’s help “compiling” and “highlighting” basic terms in the key

contracts in this case, and his testimony should be excluded on that basis. See Simpson v.

Betteroads Asphalt Corp., No. CIVIL 2011-056, 2013 WL 2255472, at *2 (D.V.I. May 18, 2013)

(excluding expert’s opinion on “Requirements of the Contract,” which is only “summarizing and

excerpting contractual provisions,” because a summary of “‘facts’ of the case does not require

scientific, technical, or other specialized knowledge.’” (citation omitted)).

           23.      Despite characterizing the conditions of the deal as “significant,” Henkin did

nothing to evaluate the likelihood that any of the identified conditions would be satisfied. In

particular:

           •     Henkin has no opinion on the Debtors obtaining the necessary regulatory approvals
                 (Henkin Tr. at 255:2 - 256:8);4

           •     Henkin has no opinion on the likelihood that the debtors will obtain necessary tax
                 rulings (id. at 256:9-16);

           •     Henkin performed no analysis on the likelihood that the debtors will obtain the
                 necessary make-whole rulings (id. at 256:17-21); and

           •     Henkin has no opinion on whether the Debtors will achieve the necessary milestones
                 in the Merger Agreement in time, (id. at 256:22-25).

           24.      At bottom, Henkin’s opinion that there is “no reasonable assurance” that the Merger

Agreement will close is merely attorney argument disguised as expert testimony, and it should be

excluded. See Lipson, 46 F. Supp. 2d at 763; Simpson, 2013 WL 2255472, at *2.



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    For good measure, Henkin testified that he is not providing an opinion on the likelihood of the Debtors receiving
    an acceptable PLR ruling form the IRS (Henkin Tr. at 97:24 - 98:4), the likelihood the Debtors will receive an
    acceptable change of control ruling from the Public Utility Commission of Texas (id. at 98:5-9), or the likelihood
    that the Debtors will receive a ruling approving the chain of control from the Nuclear Regulatory Commission (id.
    at 98:10-20). To the extent that changes in market conditions could affect conditionality, Henkin admitted that he
    has done no analysis on whether the “financial condition of Oncor could change,” whether “the economic
    conditions in Texas could change,” or whether the overall United States economy could change between signing
    and closing the deal. (Id. at 252:11 - 254:17.)



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II.     Henkin’s Opinion On The Implied Value Of TCEH Should Be Excluded As
        Unreliable And Irrelevant Because He Uses The Wrong Valuation Date.

        25.     Henkin’s next opinion is that “[b]ased on the implied market value of TCEH [as

of October 8, 2015], there will be no tax liability to EFH upon a disposition of TCEH in a

transaction utilizing EFH’s NOLs.” (Henkin Rep. ¶ 16; Henkin Tr. at 256:14-16.) The EFH

Committee relies on this opinion to undercut the proposed Settlement Agreement.                (EFH

Committee Objection at 36-38.) But Henkin uses an admittedly “simplistic” valuation method

and the wrong date for the valuation. This opinion should be excluded because it is speculative,

unreliable, and will not assist the Court. See In re Nellson Nutraceutical, Inc., 356 B.R. 364, 373

(Bankr. D. Del. 2006) (Sontchi, J.) (expert’s opinion is inadmissible and not relevant if it is

“fundamentally unsupported” because it “relies on altered facts and speculation, or fails to consider

relevant facts in reaching a conclusion”).

        26.     A foundation of this opinion was Henkin’s calculation of the implied market

value of TCEH at $9.8 billion as of October 8, 2015. (Henkin Tr. at 259:5-16, 206:15-18.) Far

from a formal valuation report, Henkin’s analysis, based on the trading value of certain debt

securities, is admittedly a “fairly simplistic” method. (Id. at 272:1-5.) Henkin even referred to

this as a “representative number” rather than an actual valuation. (Id. at 272:2-5.) This back-of-

the-envelope approach to valuation is problematic because it ignores confounding issues that

may affect the securities, such as intercreditor disputes or a thinly traded market. Henkin did not

attempt to perform a more rigorous discounted cash flow or comparable company valuation.

This leaves his “simplistic” valuation as insufficiently reliable to be helpful to the Court. See

Fed. R. Evid. 702 & Advisory Committee Note (2000) (expert’s opinion must be “the product of

reliable principles and methods”).




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       27.     Even if the Court were to accept his “simplistic” valuation, Henkin’s entire

opinion is irrelevant and inadmissible because he applies the wrong date to his valuation. See In

re Nellson Nutraceutical, Inc., 356 B.R. at 373. As an initial point, Henkin has no formal training in

tax, nor has he ever been accepted as an expert in tax. (Henkin Tr. at 98:21 - 99:1.) And, as Henkin

admits, the relevant date for determining distributions under a plan, whether it involves a taxable sale

or tax-free spin of TCEH, is the date of emergence. (Id. at 261:21-24 (“[Q.] The relevant date for

determining distributions under the plan is the date of emergence, correct? A. Correct.”); see

also id. at 268:6-10.) As Henkin agreed, the date of EFH’s emergence is currently unknown—

although it is probably six to nine months in the future. (Id. at 261:25 - 262:7.) In the prior six

to nine months, as Henkin admitted, TCEH has had an implied value swing of almost $5 billion.

(Id. at 262:12-15.)

       28.     Henkin makes no attempt to predict TCEH’s value as of the date of emergence.

Indeed, he readily admits that “it’s very difficult to predict the future value of a company.” (Id.

at 260:23 - 261:4.) He further testified that “I don’t have a good prediction as to the future value of

the TCEH securities”—which are the basis of his implied valuation. (Id. at 260:15-22.)

       29.     Implicit in Henkin’s analysis is the assumption that the value of TCEH on October 8,

2015 is a suitable proxy for the value of TCEH on the date of emergence. Yet Henkin has done

nothing to support this assumption, leaving the opinion speculative and inadmissible. See ZF

Meritor, 696 F.3d at 294 (“An expert’s opinion should be excluded when it is based on assumptions

which are speculative and not supported by the record.” (quotations and citation omitted)).

       30.     Henkin’s simplistic valuation as of October 8, 2015 offers nothing to this Court. Any

assumption that this value would be indicative of the value of TCEH on the date of emergence would

be overly speculative. See id.; see also Scully v. US WATS, Inc., 238 F.3d 497, 513 (3d Cir. 2001)




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(“[V]agaries of the stock market render [future] valuation of the security interest more speculative.”).

This opinion should be excluded.

III.    Henkin’s Opinion That The Merger Agreement Is Akin To An “Option” Should Be
        Excluded Because Inaccurately Labeling Contractual Terms Does Not Assist The
        Court.

        31.     Henkin’s next opinion is that “[t]he agreement by the Purchasers to buy Oncor as a

REIT is akin to an option.” (Henkin Rep. ¶ 12.) The EFH Committee relies on this opinion to

critique the feasibility of the Plan. (EFH Committee Objection, at 105.) Yet the Merger Agreement

does not fit Henkin’s own definition of an “option,” and this opinion simply attaches a label to the

terms of the Merger Agreement. Therefore, this opinion should be excluded because it will not assist

the Court. See Reedy, 2007 WL 1469047, at *3 (“Expert testimony may not be used merely to repeat

or summarize what the jury independently has the ability to understand.” (internal marks omitted));

see Crawford v. George & Lynch, Inc., No. CV 10-949-GMS-SRF, 2013 WL 6504361, at *2 (D.

Del. Dec. 9, 2013) (“testimony on factual matters involving common sense” does not assist the trier

of fact).

        32.     Henkin’s opinion is that the Merger Agreement “provides the Purchasers with a

‘real’ option in which the Purchasers have the exclusive right, but not the obligation, to invest

and complete the transaction.” (Henkin Rep. ¶ 50 (emphasis added); see also Henkin Tr. at

172:19 - 173:4.) Henkin also compares it to an American-style call option because “it provides the

Purchasers and Plan Sponsors with the exclusive right, but not the obligation, to fund the Merger and

‘exercise’ the option on or before the First Closing date.” (Henkin Rep. ¶ 49 (emphasis added).)

        33.     Henkin’s characterization of the purchasers’ rights under the Merger Agreement is

misleading.    As Henkin acknowledges, the Merger Agreement has a fiduciary out provision.

(Henkin Tr. at 174:14 - 175:4; see also Merger Agreement §8.3(e) [Ex. B to D.I. 6097-1].) A

fiduciary out provision allows the Debtors to terminate the deal if it would be inconsistent with their


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fiduciary duties, potentially including a scenario where a superior third-party offer arrives. The

purchasers’ right is therefore not exclusive. And Henkin’s own definition of “option” presupposes

exclusivity.5 Yet, up until the point of closing, the purchasers are competing with any and all parties

that want to present a superior offer to the Debtors—consistent with the fiduciary out provision.

           34.      Accordingly, Henkin’s opinion is flawed because the fiduciary out provision belies

his “option” characterization. Moreover, the Court is capable of reading the Merger Agreement and

understanding the relevant provisions. There is no need for an expert to explain these provisions to

the Court, especially where the goal is to (inaccurately) label those terms. See Reedy, 2007 WL

1469047, at *3; Crawford, 2013 WL 6504361, at *2.

IV.        Henkin’s Opinion On The Plan’s Atypical Remedies Should Be Excluded Because
           The Comparison Is Irrelevant And Will Not Assist The Court.

           35.      Finally, Henkin’s opinion that the “lack of remedies in the Merger and Purchase

Agreement is inconsistent with both large utility M&A transactions and large bankruptcy sale

transactions” should also be excluded. (Henkin Rep. ¶ 11.) Whether the Plan provides for an

atypical approach to remedies—by favoring disarmament and drag over traditional remedies—is not

a disputed issue. And it does nothing to prove the EFH Committee’s objection that the Plan is

infeasible. Accordingly, the opinion is disconnected from the issues in this matter and will not assist

the Court. See Schneider, 320 F.3d at 404 (Rule 702 requires that the expert testimony must “fit the

issues in the case.”).

           36.      Henkin’s team compiled a list of 36 M&A deals over the prior five years that were

either in the power and utility industry or were Chapter 11 bankruptcy sales. (Henkin Rep. at 19.)

5
    In his deposition, Henkin tried to walk back the exclusivity point by claiming that “real-world options could be
    non-exclusive.” (Henkin Tr. at 175:16-17.) But, as cited above, Henkin’s report expressly states that an option
    requires an exclusive right. At the deposition, Henkin admitted that in the securities world, options are exclusive.
    (Id. at 175:5-11.) He agreed it is “very rare to have a non-exclusive option because it doesn’t have that much
    value.” (Id. at 176:2-3 (emphasis added).) And he could not identify a single example of a non-exclusive option.
    (Id. at 176:20-23.)



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He then tallied whether certain traditional remedies existed in the agreements, such as a reverse

termination fee, liquidated damages, or specific performance. The end result is that Henkin opines

that the current Plan “contradicts customary practices” as to these traditional, contractual remedies.

(Id. ¶ 42; see also Henkin Tr. at 103:9-12.)

        37.     This analysis is flawed and misleading. Henkin fails to include key variables in his

analysis of other M&A transactions, such as whether the buyer is a strategic, financial, or club

purchaser, whether there is a fiduciary out provision, the length of the holding period, or whether the

specific performance provision is limited or full. (See id. at 113:9-21; 116:15-23, 121:19-25, 129:21

- 130:7, 177:11-21.) He also downplays that these remedies are only available if all of the closing

conditions are otherwise met. This leaves his analysis shallow because it lacks the granularity

needed to truly compare the remedies between deals. In addition, he also wholly ignores the effect of

disarmament and drag on the deal. (Id. at 188:18- 189:4, 198:10-22.)

        38.     Regardless, Henkin’s analysis is irrelevant. Even ignoring the methodological flaws

in Henkin’s comparison analysis, there is no link between the feasibility of a so-called “customary”

M&A deal and the current Plan. To be feasible, the plan must not be “likely to be followed” by an

unplanned liquidation or further financial reorganization. 11 U.S.C. § 1129(a)(11); In re W.R. Grace

& Co., 475 B.R. 34, 109-10 (D. Del. 2012) (success of the plan need only be “reasonably likely” not

“guaranteed”). The size and complexity of the EFH bankruptcy—along with the intricate regulatory

requirements—present unique challenges that may not invite a “customary” approach to achieve a

feasible deal. The relevance of Henkin’s opinion relies on the implicit assumption that the only way

to achieve a feasible Plan is to follow the approach of other large M&A deals. That is not the case.

        39.     Indeed, Henkin acknowledges that the Debtors chose disarmament and drag over a

$200 million reverse termination fee—one of Henkin’s “customary” remedies. (Henkin Tr. at




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180:15-22.) Tellingly, Henkin’s limited approach betrays his analysis. Despite contrasting the Plan

to other “customary” deals, Henkin refuses to opine on whether the board of directors used sound

business judgment in accepting this deal. (Id. at 162:25 - 163:3 (“I wasn’t opining on the business

judgment of the board[.]”)) In other words, Henkin calls this an atypical deal but refuses to call it a

bad deal.

       40.     Henkin’s opinion therefore provides a superficial survey of customary remedies in

the M&A landscape, but does not tie to the feasibility of this Plan. The Court should exclude this

opinion because it is not relevant and not helpful. See Schneider, 320 F.3d at 404.




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                                       CONCLUSION

       For the foregoing reasons, the Debtors respectfully request entry of an order precluding

the EFH Committee from offering the expert report from, or testimony of, Michael Henkin on

the four opinions identified above.




                          [Remainder of page intentionally left blank.]




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